Case 3:17-cv-00072-NKM-JCH Document 997 Filed 07/28/21 Page 1 of 4 Pageid#: 16538




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ,
   MARCUS MARTIN, NATALIE ROMERO,
   CHELSEA ALVARADO, JOHN DOE, and
   THOMAS BAKER,

                                  Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

   v.                                                         JURY TRIAL DEMANDED

   JASON KESSLER, et al.,

                                  Defendants.


              MOTION FOR PRO HAC VICE ADMISSION OF ARPINE S. LAWYER

         Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the Western

  District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court, and counsel

  of record in the instant proceeding hereby moves the Court for the admission of Arpine S. Lawyer,

  Esquire to appear pro hac vice on behalf of the Plaintiffs in the above captioned case and in support

  thereof states as follows:

         1.      Ms. Lawyer is an associate with the law firm of Paul, Weiss, Rifkind, Wharton &

  Garrison LLP, 2001 K Street NW, Washington, DC 20006. Tel: 202.223.7443, Fax: 202.315.3407,

  Email: alawyer@paulweiss.com

         2.      Ms. Lawyer is qualified and licensed to practice law and is a bar member in good

  standing in the District of Columbia (Bar ID No. 1048266 – since 2017) and the State of California

  (Bar ID No. 313671 – since 2016). Ms. Lawyer is also admitted and in good standing in the United

  States District Court for the Northern District of California (since 2021).
Case 3:17-cv-00072-NKM-JCH Document 997 Filed 07/28/21 Page 2 of 4 Pageid#: 16539




         3.      Ms. Lawyer agrees to submit and comply with the appropriate rules of procedure

  as required in the case for which she is applying to appear pro hac vice as well as the rules and

  standards of professional conduct applicable to all lawyers admitted to practice before this Court.

         WHEREFORE, for the reasons stated above, it is requested that this Court grant this motion

  and permit Arpine S. Lawyer, Esq. to appear pro hac vice on behalf of Plaintiffs in the above

  captioned case, and to appear at hearings or trials in the absence of an associated member of the

  bar of this Court.



   Dated: July 28, 2021                                Respectfully submitted,

                                                       /s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       rcahill@cooley.com


                                                       Counsel for Plaintiffs




                                                   2
Case 3:17-cv-00072-NKM-JCH Document 997 Filed 07/28/21 Page 3 of 4 Pageid#: 16540




                                    CERTIFICATE OF SERVICE

        I hereby certify that on July 28, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

   Elmer Woodard                                    David L. Campbell
   5661 US Hwy 29                                   Justin Saunders Gravatt
   Blairs, VA 24527                                 Duane, Hauck, Davis & Gravatt, P.C.
   isuecrooks@comcast.net                           100 West Franklin Street, Suite 100
                                                    Richmond, VA 23220
   James E. Kolenich                                dcampbell@dhdglaw.com
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   9435 Waterstone Blvd. #140
   Cincinnati, OH 45249                             Counsel for Defendant James A. Fields, Jr.
   jek318@gmail.com
                                                    William Edward ReBrook, IV
   Counsel for Defendants Jason Kessler, Nathan     The ReBrook Law Office
   Damigo, Identity Europa, Inc. (Identity          6013 Clerkenwell Court
   Evropa), Matthew Parrott, and Traditionalist     Burke, VA 22015
   Worker Party                                     edward@rebrooklaw.com

   Bryan Jones                                      Counsel for Defendants Jeff Schoep, National
   106 W. South St., Suite 211                      Socialist Movement, and Nationalist Front
   Charlottesville, VA 22902
   bryan@bjoneslegal.com

   Counsel for Defendants Michael Hill, Michael
   Tubbs, and League of the South


       I further hereby certify that on July 28, 2021, I also served the foregoing upon the following
  non-ECF pro se defendants, via electronic mail, as follows:

   Richard Spencer                                  Robert “Azzmador” Ray
   richardbspencer@icloud.com                       azzmador@gmail.com
   richardbspencer@gmail.com

   Vanguard America                                 Matthew Heimbach
   c/o Dillon Hopper                                matthew.w.heimbach@gmail.com
   dillon_hopper@protonmail.com

   Elliott Kline a/k/a Eli Mosley
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   deplorabletruth@gmail.com
   eli.r.kline@gmail.com
Case 3:17-cv-00072-NKM-JCH Document 997 Filed 07/28/21 Page 4 of 4 Pageid#: 16541




        I further hereby certify that on July 28, 2021, I also served the foregoing upon the following
  non-ECF pro se defendant, via first class mail, as follows:

  Christopher Cantwell
  Christopher Cantwell 00991-509
  USP Marion
  U.S. Penitentiary
  P.O. Box 1000
  Marion, IL 62959




                                                       /s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP

                                                       Counsel for Plaintiffs
